Case 1:18-cv-00950-PTG-JFA Document 473-40 Filed 10/21/19 Page 1 of 6 PageID# 20712
                                              Saturday, October 19, 2019 at 7:02:38 PM Eastern Daylight Time

 Subject: Re: Sony v. Cox - trial witnesses
 Date: Monday, September 16, 2019 at 6:35:08 PM Eastern Daylight Time
 From: Jeﬀ Gould
 To:      Buchanan, Tom
 CC:      MaO Oppenheim, Elkin, Michael S., Golinveaux, Jennifer A., Anderson, Sean R.

Tom – we have not heard back from you on the below issue. Will you respond?

Jeﬀrey M. Gould
Oppenheim + Zebrak, LLP
202.851.4526 (direct)
jeﬀ@oandzlaw.com



From: Jeﬀ Gould <Jeﬀ@oandzlaw.com>
Date: Monday, August 19, 2019 at 1:33 PM
To: "Buchanan, Tom" <TBuchana@winston.com>
Cc: MaO Oppenheim <MaO@oandzlaw.com>, "Elkin, Michael S." <MElkin@winston.com>,
"Golinveaux, Jennifer A." <JGolinveaux@winston.com>, "Anderson, Sean R."
<sranderson@winston.com>
Subject: Re: Sony v. Cox - trial witnesses

Tom – We agree that witnesses should appear live just once. To that end, we can agree that for any
Cox witness that we examine live in Plain`ﬀs’ case in chief, Cox may cross examine them outside the
scope of Plain`ﬀs’ direct, in lieu of calling the same witness twice. This eliminates the need for
witnesses to take two trips to Virginia and levels the playing ﬁeld on both sides’ ability to present live
tes`mony.

Cox said in its witness list that it expects to call Carothers, Beck, Mencher and Negree live and may
call Zabek and Sikes live or by deposi`on. We object to Cox calling Zabek or Sikes aﬃrma`vely by
deposi`on given that Cox controls them and could bring them to trial if it wants to, and we intend to
move in limine accordingly. Mr. Zabek already conﬁrmed in his deposi`on that he would tes`fy at trial
if asked. We are now asking. Please conﬁrm that you will make the request pursuant to Cox’s
agreement with him and also ask Mr. Sikes the same. We would ask that they be available during
Plain`ﬀs’ case in chief.
We will also want Carothers and Beck live in Plain`ﬀs' case in chief. Please let us know if you will
consent to this.

If Cox refuses to make these 4 witnesses (Carothers, Beck, Zabek, Sikes) available live in Plain`ﬀs’ case
in chief, we will move to preclude Cox from calling them live in its case.
For other witnesses that Cox calls live, will Cox agree that Plain`ﬀs can cross examine outside the
scope of Cox’s direct?

Regards,
Jeﬀ

Jeﬀrey M. Gould

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jeﬀ@oandzlaw.com

On 8/1/19, 2:12 PM, "Buchanan, Tom" <TBuchana@winston.com> wrote:

  Not sure if we will call all of those witnesses, but those we do call we will bring for our case in chief,
not earlier. If this were a three day trial, then things would be diﬀerent. But we cannot force these
people to come to Va. twice in a 3 week `me period.

  Thomas M. Buchanan
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  hOp://www.winston.com


 -----Original Message-----
 From: Jeﬀ Gould <Jeﬀ@oandzlaw.com>
 Sent: Wednesday, July 31, 2019 5:34 PM
 To: Buchanan, Tom <TBuchana@winston.com>
 Cc: Anderson, Sean R. <SRanderson@winston.com>; Elkin, Michael S. <MElkin@winston.com>; MaO
Oppenheim <MaO@oandzlaw.com>
 Subject: Re: Sony v. Cox - trial witnesses

 Tom - We have not heard back from you on my ques`on below about witnesses. Please let us know
when we can expect a response.

  Thanks,
  Jeﬀ

  Jeﬀrey M. Gould
  Oppenheim + Zebrak, LLP
  202.851.4526 (direct)
  jeﬀ@oandzlaw.com


  On 7/26/19, 6:49 PM, "Buchanan, Tom" <TBuchana@winston.com> wrote:

    Thanks. Will do.

    On Jul 26, 2019, at 5:16 PM, Jeﬀ Gould <Jeﬀ@oandzlaw.com<mailto:Jeﬀ@oandzlaw.com>> wrote:

    Tom - We agree to accept service of subpoenas to Steve Marks and Victoria Sheckler.


                                                                                                         Page 2 of 6
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    On a related point, Plain`ﬀs expect to present at trial a number of witnesses whom Cox controls
but who appear to be outside the Court’s subpoena power. This includes Brent Beck, MaO Carothers,
Sandy Mencher, Sidd Negree, Joseph Sikes, and Jason Zabek. Please let us know whether Cox will
agree to make these witnesses available live in Plain`ﬀs’ case-in-chief?

    Regards,
    Jeﬀ

    Jeﬀrey M. Gould
    Oppenheim + Zebrak, LLP
    202.851.4526 (direct)
    jeﬀ@oandzlaw.com<mailto:jeﬀ@oandzlaw.com>


    From: "Buchanan, Tom" <TBuchana@winston.com<mailto:TBuchana@winston.com>>
    Date: Thursday, July 25, 2019 at 11:55 AM
    To: Jeﬀ Gould <Jeﬀ@oandzlaw.com<mailto:Jeﬀ@oandzlaw.com>>
    Cc: "Anderson, Sean R." <sranderson@winston.com<mailto:sranderson@winston.com>>, "Elkin,
Michael S." <MElkin@winston.com<mailto:MElkin@winston.com>>, MaO Oppenheim
<MaO@oandzlaw.com<mailto:MaO@oandzlaw.com>>
    Subject: RE: Sony v. Cox - proposed schedule

    Thanks.

    Thomas M. Buchanan



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VCard<hOp://www.winston.com/vcards/437.vcf> | Email<mailto:tbuchana@winston.com> |
winston.com<hOp://www.winston.com>

    <image001.jpg>
    From: Jeﬀ Gould <Jeﬀ@oandzlaw.com<mailto:Jeﬀ@oandzlaw.com>>
    Sent: Thursday, July 25, 2019 11:50 AM
    To: Buchanan, Tom <TBuchana@winston.com<mailto:TBuchana@winston.com>>
    Cc: Anderson, Sean R. <SRanderson@winston.com<mailto:SRanderson@winston.com>>; Elkin,
Michael S. <MElkin@winston.com<mailto:MElkin@winston.com>>; MaO Oppenheim

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<MaO@oandzlaw.com<mailto:MaO@oandzlaw.com>>
   Subject: Re: Sony v. Cox - proposed schedule

    Tom – I believe we can accept service but will conﬁrm for sure by the end of the week and get
back to you.

    Regards,
    Jeﬀ

    Jeﬀrey M. Gould
    Oppenheim + Zebrak, LLP
    202.851.4526 (direct)
    jeﬀ@oandzlaw.com<mailto:jeﬀ@oandzlaw.com>


    From: "Buchanan, Tom" <TBuchana@winston.com<mailto:TBuchana@winston.com>>
    Date: Thursday, July 25, 2019 at 11:43 AM
    To: Jeﬀ Gould <Jeﬀ@oandzlaw.com<mailto:Jeﬀ@oandzlaw.com>>
    Cc: "Anderson, Sean R." <sranderson@winston.com<mailto:sranderson@winston.com>>, "Elkin,
Michael S." <MElkin@winston.com<mailto:MElkin@winston.com>>
    Subject: RE: Sony v. Cox - proposed schedule

    If I don’t hear back from you by the end of the week, we will serve them directly. Thanks.

    Thomas M. Buchanan



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winston.com<hOp://www.winston.com>

    <image002.jpg>
    From: Buchanan, Tom
    Sent: Wednesday, July 24, 2019 10:28 AM
    To: 'Jeﬀ Gould' <Jeﬀ@oandzlaw.com<mailto:Jeﬀ@oandzlaw.com>>
    Cc: Anderson, Sean R. <SRanderson@winston.com<mailto:SRanderson@winston.com>>; Elkin,
Michael S. <MElkin@winston.com<mailto:MElkin@winston.com>>

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    Subject: RE: Sony v. Cox - proposed schedule

    Please let me know if you will accept service of trial subpoenas for these two witnesses. Thanks.

    Thomas M. Buchanan



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VCard<hOp://www.winston.com/vcards/437.vcf> | Email<mailto:tbuchana@winston.com> |
winston.com<hOp://www.winston.com>

    <image003.jpg>
    From: Buchanan, Tom
    Sent: Tuesday, July 16, 2019 1:45 PM
    To: 'Jeﬀ Gould' <Jeﬀ@oandzlaw.com<mailto:Jeﬀ@oandzlaw.com>>
    Subject: RE: Sony v. Cox - proposed schedule

    BTW, will you accept service of trial subpoenas for Steve Marks and Victoria Scheckler. Thanks.

    Thomas M. Buchanan



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